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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHEASTERN DIVISION

Ruben Hernandez,                               )
                                               )
                      Petitioner,              )
                                               )          ORDER FOR JUDGMENT
       vs.                                     )              AND JUDGMENT
                                               )        DENYING MOTION TO VACATE
United States of America,                      )          SET ASIDE, OR CORRECT
                                               )                SENTENCE
                      Respondent.              )
                                               )               Civil File No. 3:06-cv-15
                                               )
United States of America,                      )
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )
Ruben Hernandez,                               )             Crim. File No. 3:03-cr-90-02
                                               )             Crim. File No. 3:04-cr-57-02
                      Defendant.               )
                                               )

       The above-encaptioned matter came regularly on for hearing on a status conference on

December 3, 2008. The Petitioner Ruben Hernandez (hereafter “Hernandez”) appeared by

telephone conference call and through his counsel Brian Toay. The Respondent appeared

through assistant United States Attorney Christopher Cory Myers.

       During the course of the status conference Hernandez informed the court that he wanted

to waive his right to proceed on his 28 U.S.C. 2255 motion, that he wished for the petition to be

denied with prejudice and that the original sentence and judgment should be allowed to stand.

The Court informed Hernandez that he had a right to a hearing on the two remaining issues, that

the Court was prepared to go forward to an evidentiary hearing and clarified the issues pending

before the Court. Hernandez persisted in waiving his right to move forward and asked that the
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petition be dismissed.

       The record under these circumstances conclusively shows that Hernandez is entitled to no

relief. His motion to vacate is therefore DENIED, and this action is DISMISSED WITH

PREJUDICE. In addition, the Court certifies that an appeal from the denial of this motion may

not be taken in forma pauperis because such an appeal would be frivolous and cannot be taken in

good faith. Coppedge v. United States, 369 U.S. 438, 444-45 (1962). Dismissal of this motion is

not debatable, reasonably subject to a different outcome on appeal, or otherwise deserving of

further proceedings. Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983). Therefore, a certificate

of appealability will not be issued by this Court.

       IT IS SO ORDERED AND ADJUDGED that judgment is entered for the United States

of America and against Petitioner and his motion pursuant to 28 U.S.C. § 2255 be DISMISSED

WITH PREJUDICE.

               Dated this 3rd day of December, 2008.



                                                     /s/ Ralph R. Erickson
                                                     Ralph R. Erickson, District Judge
                                                     United States District Court
